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               IN THE UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF GEORGIA                fl !iI        C)   tJ • •   f-s .
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                         SAVANNAH DIVISION

UNITED STATES OF AMERICA

                                            CASE NO. CR413-007

VINCENT BRYANT, a/k/a Vincent
Lonon, a/k/a Chill, a/k/a
Chilly; and RICARDO JANAINE
CRAWFORD, a/k/a Rico;

     Defendants.


                              ORDER

     Before the Court is the Magistrate Judge's Report and

Recommendation (Doc. 348), to which objections have been filed

(Doc. 368; Doc. 370) . After a careful de novo review of the

record, the Court finds Defendants' objections to be without

merit. Accordingly, the report and recommendation is ADOPTED

as the Court's opinion in this case and Defendants Bryant's

and Crawford's Notions to Suppress are DENIED.

     In their objections, Defendants contend that the wiretap

on Target Telephone ("TT") 1 should be suppressed because TT-1

and TT-2 were both supported by the same 94-page affidavit.

(Doc. 368 at 1-2; Doc. 370 at 1-2.) This characterization is,

however, incorrect. While the affidavits are very similar,

the affidavit for TT-2 explains that the need for the separate

wiretap was due to the target individual changing cell phones,

a tactic he repeatedly used during the investigation in an
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attempt to avoid investigation.            Therefore, it is to be

expected that the two affidavits would be very similar because

the only change to the factual circumstances surrounding the

need for the wiretap was the new target telephone. Moreover,

Defendants have failed to point to any case holding that too

much similarity between affidavits renders one of them

incapable of supporting a wiretap application.

     In addition, Defendants argue that the Magistrate Judge

did not mention any affidavit used to support TT-9. (Doc. 368

at 2; Doc. 370 at 3-4.) However, this Court has reviewed the

wiretap application for TT-9, concluding that it is adequately

supported by a 67-page affidavit. Finally, Defendant Bryant

maintains that the Government failed to adequately establish

the necessity of wiretaps TT-2, TT-3, TT-4, TT-7. TT-8, and

TT-9. (Doc. 370 at 2-3.) This Court has reviewed the

affidavits for those wiretap applications and concurs with the

Magistrate Judge that the Government met its burden of

establishing their necessity.

     SO ORDERED this        1tay of January 2014.




                                  WILLIAM T. MOORE, JR.
                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA




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